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 10
                            UNITED STATES DISTRICT COURT
 11
                           CENTRAL DISTRICT OF CALIFORNIA
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 13
      CHINA BRANDING GROUP LIMITED                  Case No. 2:20-CV-06759 RGK (JC)
 14 (IN OFFICIAL LIQUIDATION), by and

 15
    through its Joint Official Liquidators, Hugh  [PROPOSED] ORDER
    Dickson of Grant Thornton Specialist Services GRANTING STIPULATION TO
 16 (Cayman), Limited and David Bennett of Grant RELEASE AND/OR
    Thornton Recovery & Reorganisation Limited, EXONERATE APPEAL BOND
 17
              Plaintiff,
 18
      v.                                            Judge: Hon. R. Gary Klausner
 19                                                 Courtroom: 850
      TONY BOBULINSKI
 20
                                                    Complaint Filed: July 28, 2020
              Defendant.
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                                                )
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           [PROPOSED] ORDER STIPULATION TO RELEASE AND/OR EXONERATE APPEAL BOND
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                                     #:2135



  1       Upon consideration of the Stipulation to Release and/or Exonerate Appeal
  2 Bond filed by Plaintiff China Brand Group Limited and Defendant Tony Bobulinski

  3 (together, the “Parties”) and good cause appearing therefor,

  4       IT IS HEREBY ORDERED THAT:
  5       1. SureTec Insurance Company’s (“SureTec”) appeal bond no. 3487389 in the
  6          amount of $664,960.65 is released and/or exonerated.
  7       2. The Parties release SureTec from any and all liability thereunder.
  8 IT IS SO ORDERED.

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 10 Dated:                                       _____________________________
 11                                              Hon. R. Gary Klausner
                                                 United States District Judge
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      [PROPOSED] ORDER GRANTING STIPULATION TO RELEASE AND/OR EXONERATE APPEAL BOND
